Case 1:07-cv-11693-GAO Document 295

« sD) Exhibit and Wi

Filed 09/17/10

Page 1 of 4

UNITED STATES DISTRICT COURT

UNITED STATES DISTRICT COURT DISTRICT OF MASSACHUSETTS
PEDRO LOPEZ, ET AL. EXHIBIT AND WITNESS LIST
V.
CITY OF LAWRENCE, ET AL Case Number: 07-11693-GAO
PRESIDING JUDGE PLAINTIFF’S ATTORNEY DEFENDANT’S ATTORNEY
O’TOOLE Lichten,Sulman,Churchill Harris, McQuillan,McDermott,D’ Agostino,
TRIAL DATE (S) COURT REPORTER COURTROOM DEPUTY
7/12/10- PATRISSO LYNESS
Me | Oe | ommrep | MARKED |ADMITTED DESCRIPTION OF EXHIBITS* AND WITNESSES
Plaintiff's Witness- Thomas Nolan-Sworn 7/12/10
Plaintiff's Witness-Pedro Lopez-Sworn 7/12/10
Plaintiff's Witness-Joel Wiesen-Sworn 7/13/10
50a TA3ZBAO X 7/13/10 |Vitae of Dr. Wiesen
Plaintiff's Witness-Kathleen O’Toole-Sworn 7/16/10
Plaintiff's Witness-Cassie Fields-Sworn 7/20/10
Plaintiff's Witness-Spencer Tatum-Sworn 7/22/10
Plaintiff's Witness-Edward F, Davis-Sworn 7/23/10
133] 7/23/10 Xx 7/23/10 |Defendant City of Boston Collective Bargaining Agreement
Plaintiffs Witness-Robert Alvarez-Sworn 7/23/10
134] 7/23/10 X 7/23/10 |Defendant City of Lowell Collective Bargaining Agreement
136] 7/23/10 Xx 7/23/10 |Defendant City of Lowell- Alvarez’s birth certificate
137] 7/23/10 x 7/23/10 |Defendant City of Lowell-Civil Service Document dated 1/15/87.
138] 7/23/10 Xx 7/23/10 |Defendant City of Lowell-Copy of fingerprint application (1994)
139] 7/23/10 Xx 7/23/10 |Defendant City of Lowell-Waltham Police Department fingerprint application
140] 7/23/10 Xx 7/23/10 |Defendant City of Lowell-Groton Police fingerprint application
141} 7/23/10 x Deft. City of Lowell-Individual Eligibility Record Display Exam Date1986
142] 7/23/10 Xx Deft. City of Lowell-Individual Eligibility Record Display Exam Date 1988
143| 7/23/10 Xx Deft. City of Lowell-Individual Eligibility Record Display Exam Date 1990
144) 7/23/10 x Deft. City of Lowell-Individual Eligibility Record Display Exam Date 1998
145] 7/23/10 x Deft. City of Lowell-Individual Eligibility Record Display Exam Date 2000
146 7/23/10 X 7/23/10 |Plaintiff -Letter from Davis to Alvarez

* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

Page | of Y Pages

Case 1:07-cv-11693-GAO Document 295 Filed 09/17/10 Page 2 of 4

AO 187A (Rev. 7/87) EXHIBIT AND WITNESS LIST — CONTINUATION
CASE NO.
PEDRO LOPEZ, ET AL vs. CITY OF LAWRENCE, ET AL 07-11693-GAO
PLP, | DEF. | DATE | MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES

NO. NO. OFFERED

147 7/23/10 x 7/23/10 |Plaintiff’s Personnel Record of Alvarez

149] 7/26/10 X 7/28/10 |Defendant MBTA’s Chart of data of Sgt. Promotions

150 TW27/10 x 7/27/10 |Plaintiff’s exhibit- Chart from Schmidt article

148] 7/26/10 x 7/26/10 |Defendant MBTA’s Chart of Promotions

Defendant City of Boston Witness-Edward Callahan-sworn 7/27/10

151] 7/27/10 X 7/27/10 |Defendant City of Boston Delegation Agreement between Boston PD and HR

152] 7/27/10 X 7/27/10 |Defendant City of Boston Spread sheet for cost of 2002 examination

153] 7/27/10 X 7/28/10 |Defendant City of BostonDocument that states study material available for tests

154 7/28/10 X 7/28/10 |Plaintiff's exhibit

155 7/28/10 X 7/28/10 |2003 Test results for Sargeant promotion

156 7/28/10 Xx 7/28/10 |2004 Test results for Sargeant promotion

79a 7/28/10 X 7/28/10 |Revised Table-Summary of AI Analyses,by police dept. For exams yrs 2003-2004
85a 7/28/10 X 7/28/10 |Revised Table for Springfield Police Department

157] 7/28/10 X 7/28/10 |Deft. City of Boston Study Seminars re: Promotional Examinatyions

158] 7/28/10 X 7/28/10 |Deft. City of Boston Sergeants Training-Draft Boston Police Academy

Plaintiff Rests

Defendant City of Springfield Witness- William Fitchet-Sworn 7/28/10

159] 7/28/10 X 7/28/10 |City of Springfield Ordinance

160] 7/28/10 X 7/28/10 |City of Springfield Chapter 169 of the Acts of 2004

161] 7/28/10 X 7/28/10 |City of Springfield Authorization of Employment Form 14, Duda,Zarelli... 4/3/06

162] 7/28/10 X 7/28/10 |City of Springfield Form 14 3/14/07 Richard Hottin

163] 7/28/10 X 7/28/10 |City of Springfield Form 14. 8/24/08. Randolph, Martin,Kent,Labelle

164] 7/28/10 X 7/28/10 |City of Springfield Form 14. 11/19/09 Martucci, Kent, Toledo

Page 2 of Y Pages

Case 1:07-cv-11693-GAO Document 295 Filed 09/17/10 Page3of4

®AO 187A (Rev. 7/87) EXHIBIT AND WITNESS LIST —- CONTINUATION
CASE NO.
PEDRO LOPEZ, ET AL VS. CITY OF LAWRENCE, ET AL 07-11693-GAO
PLF, DEF. DATE MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES

NO. NO. OFFERED

165] 7/28/10 Xx 7/28/10 |City of Springfield Job description for Sargeant in Springfield

166] 7/28/10 Xx 7/28/10 |City of Springfield Roster Springfield Police Dept. 2006

167] 7/28/10 X 7/28/10 |City of Springfield “ * “ ” 2007
168] 7/28/10 X 7/28/10 |City of Springfield “ » “ ”» 2008
169] 7/28/10 X 7/28/10 |City of Springfield “ » “ » 2009

170] 7/28/10 X 7/28/10 |City of Springfield Sergeant Task Survey Analysis

171] 7/28/10 Xx 7/28/10 |City of Springfield Table of Police Department Employee Breakdown

172] 7/28/10 X 7/28/10 |City of Springfield Police Sergeants April 2010

Defendant MBTA Witness-Delores Ford-Murphy-Sworn 7/28/10

Defendant Worcester witness-Nina Galica- Sworn 9/29/10

173] 7/29/10 xX 7/29/10 |Worcester 2007 Certification List #270864

174| 7/29/10 x 7/29/10 |Worcester-Promotional List-Established 3/30/07

175| 7/29/10 x 7/29/10 |Worcester-Active Promotional List Established 5/15/09

176} 7/29/10 x 7/29/10 |Worcester- Promotional List Established 3/3 1/05

Defendant Lowell witness-kenneth Lavalle-Sworn 7/29/10

177| 7/29/10 x 7/29/10 |Lowell-Court Order-Otero v Martin/Fuller v. Martin

178] 7/29/10 X 7/29/10 |Lowell-HRD Authorization of Employment Form 14

179| 7/29/10 x 7/29/10 |Lowell-HRD Document 9/18/00

Defendant City of Boston Witness-Dr. James Outtz-Sworn 9/13/10

180} 9/13/10 x 9/13/10 |Deft. City of Boston exhibit- Dr. Outtz’s Curriculum Vitae

181} 9/13/10 X 9/13/10 |Deft. City of Boston Exhibit-4/6/05 BPD Letter Re: Reading List

182] 9/13/10 Xx 9/13/10 |Deft. City of Boston Exhibit-5/2/05 Reading List

183} 9/13/10 X 9/13/10 |Deft. City of Boston Exhibit-Weights of competency areas

184} 9/13/10 x 9/13/10 |Deft. City of Boston Exhibit-Rules and regulations linkage

185) 9/13/10 X 9/13/10 |Deft. City of Boston Exhibit-10/05 test specs.

Page 3 of u Pages

Case 1:07-cv-11693-GAO Document 295 Filed 09/17/10 Page 4of4

®@AO 187A (Rev. 7/87) EXHIBIT AND WITNESS LIST - CONTINUATION
CASE NO.
LOPEZ, ET AL vs. CITY OF LAWRENCE, ET AL 07-11693-GAO
PLP. | DEF. | DATE | MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES

NO. NO. OFFERED

186} 9/13/10 x 9/13/10 |Deft. City of Boston Exhibit-Under seal

187} 9/13/10 X 9/13/10 |Deft. City of Boston Exhibit-SME Review of test items

188] 9/13/10 Xx 9/13/10 |Deft. City of Boston Exhibit-reading list announcement

189] 9/13/10 X 9/13/10 |Deft. City of Boston Exhibit-BPD reading list notes

190} 9/13/10 X 9/13/10 |Deft. City of Boston Exhibit-Item rating summary

191) 9/14/10 X 9/14/10 |Deft. City of Boston Exhibit- Summary

192} 9/14/10 X 9/14/10 |Deft. City of Lowell-Summary of Reading List Survey 2006-2008

193 9/15/10 x 9/15/10 |Plaintiff's exhibit-education and experience scoring grid for 2010 fire chief...

194] 9/15/10 X 9/15/10 |Deft. City of Boston Exhibit - Commissioner Memo 02-035 re: Promotional Exam 2002

195} 9/15/10 X 9/15/10 |Deft. City of Springfield Exhibit - Updated Report by Analysis & Inference, Inc.

Deft. City of Worcester Witness- Dr. Jacinto Silva-Sworn 9/16/10

196} 9/16/10 X 9/16/10 |Deft. City of Worcester Exhibit- Dr. Silva’s Resume

197] 9/16/10 X 9/16/10 |Deft. City of Worcester Exhibit- Table 2: 2005 Probability of Adverse Impact

198} 9/16/10 X 9/16/10 |Deft. City of Worcester Exhibit- Table 1: Chart

199) 9/16/10 X 9/16/10 |Deft. City of Methuen Exhibit-Statistical Chart for Methuen-2006

200] 9/16/10 x 9/16/10 |Deft. City of Boston Exhibit- Chart Method 1, Method 3: With Assessment Center

201] 9/17/10 x 9/17/10 |Deft. City of Boston Exhibit-Spread Sheet 2002 Boston Exam

202 9/17/10 x S/AT/10 |Pitffs Exhibit- Spread Sheet for Miami exam (1998)
203] 9/17/10 X HRD Promotional List for Lowell
204} 9/17/10 X Deft. City of Lowell Exhibit- Civil Service Commission Statement of Case

Page 4 of Y Pages

